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                 EXHIBIT A
        Case 3:21-cv-00562-SPM Document 1-1 Filed 06/09/21 Page 2 of 14 Page ID #9




                          PROCESS SERVER DELIVERY DETAILS




Date:                       Wed, May 12, 2021

Server Name:                Kyle Clutter




Entity Served               CONTINENTAL TIRE THE AMERICAS, LLC

Agent Name                  02957019

Case Number                 2021-L-18

Jurisdiction                IL
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                        IN THE CIRCUIT COURT FOR THE SECOND JUDICIAL CIRCUIT
                                     JEFFERSON COUNTY, ILLINOIS


 TYLER WALLACE,                                                 )
                                                                )
        Plaintiff,                                              )
                                                                )
 v.                                                             )       Case No. 2021-L-18
                                                                )
 CONTINENTAL TIRE THE AMERICAS                                  )
 LLC,                                                           )
 PAUL CHOBANIAN, and                                            )
 JEFFREY ROCK,                                                  )
                                                                )
        Defendants.                                             )

                                                                SUMMONS

         To each defendant:            Continental Tire the Americas, LLC
                                       c/o CT Corporation System
                                       208 S. LaSalle St., Ste. 814
                                       Chicago, IL 60604

        YOU ARE HEREBY SUMMONED and required to file an answer to the complaint in this case, a copy
of which is hereto attached, or otherwise file your appearance, in the office of the clerk of this court within 30 days
after service of this summons, not counting the day of service. IF YOU FAIL TO DO SO, A JUDGMENT BY
DEFAULT MAY BE ENTERED AGAINST YOU FOR THE RELIEF ASKED IN THE COMPLAINT.
 E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an account with an
 e-filing service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service provider. If
 you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/faq/gethelp.asp, or talk with your local circuit
 clerk’s office.

To the Officer:

        This summons must be returned by the officer or other person to whom it was given for service, with
indorsement of service and fees, if any, immediately after service. If service cannot be made, this summons shall
be returned and so indorsed.

This summons may not be served later than 30 days after its date .

                                                                                          5/7/2021
                                                                                WITNESS ______________________,2021.

         (Seal of Court)                                                        ___________________________________
                                                                                    (Clerk of the Circuit Court)

                                                                                By:_________________________________

______________________________________________________________
(Plaintiff's Attorney or plaintiff if he/she is not represented by an attorney)
Name:              James D. Price, Wham & Wham Lawyers                                        Date of service: _____________, 2021
Attorney for:      Tyler Wallace
Address:           212 E. Broadway                                                            (To be inserted by officer on copy left
City:              Centralia, IL 62801                                                        with defendant or authorized
Telephone:         618-532-5621                                                               individual accepting service.)
Email:              jdp@whamlawyers.com
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                                                             FILEDPage ID #11
                                                                      SECOND JUDICIAL COURT
                                                                      5/7/2021 9:28 AM
                                                                      RANDY POLLARD
                                                                      CLERK OF THE CIRCUIT COURT
                                                                      JEFFERSON COUNTY ILLINOIS
      IN THE CIRCUIT COURT FOR THE SECOND JUDICIAL CIRCUIT
                   JEFFERSON COUNTY,ILLINOIS


 TYLER WALLACE,
                                               2021L18
       Plaintiff,

 v.                                             Case No. 2021-L-

 CONTINENTAL TIRE THE
 AMERICAS LLC,
 PAUL CHOBANIAN, and
 JEFFREY ROCK,

       Defendants.

                                    COMPLAINT

       NOW COMES the plaintiff, Tyler Wallace, by and through his attorneys,

Wham &Wham,and for his Complaint against defendants Continental Tire the

Americas LLC, Paul Chobanian and Jeffrey Rock, states as follows:

                      FACTS COMMON TO ALL COUNTS

       1.    Plaintiff Tyler Wallace ("Wallace") was at relevant times a resident of

Mulkeytown, Franklin County, Illinois, and is presently as resident of Royalton,

Franklin County, Illinois.

       2.    Defendant Continental Tire The Americas LLC ("CTA") is, and was at

all relevant times, a limited liability company with a principal place of business in

Fort Mill, South Carolina, and doing business in Jefferson County, Illinois.

       3.    Defendant Paul Chobanian ("Chobanian") was at all relevant times

employed by CTA and a citizen of Jefferson County, Illinois.
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       4.     Defendant Jeffrey Rock ("Rock") was at all relevant times employed by

CTA and a citizen of Jefferson County, Illinois.

       5.     Wallace was employed at CTA for more than nine years, and held the

position of stock prep sequencer for the last three years of his employment and until

his termination on March 2, 2021.

       6.     Three years prior to his termination, a friend of Wallace's, whom he

considered to be his brother, and was recognized in the community as such,

committed suicide.

       7.     The suicide was extremely traumatic for Wallace, and, as a result, he

sought treatment for depression, anxiety, and shift work sleep disorder.

       8.     On or about January 24, 2021, Wallace arrived for work at CTA and

thereafter advised his employer that it was a difficult date for him because it was

the three year anniversary of his brother's death. CTA thereafter advised Wallace's

coworkers, including Chobanian, that Wallace was struggling with the anniversary

of his brother's death.

       9.     On or about January 24, 2021, Wallace was the target of outrageously

abusive comments made by his coworker, Chobanian, on an internal company

messaging system using the suicide of Wallace's brother as the basis for his

intentionally hostile verbal attack.

       10.    On information and belief, the wording of Chobanian's message was to

the effect of "... At least my brother is still breathing."
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      11.    Chobanian's comments instantly caused Wallace to feel extreme levels

of psychological and emotional distress.

      12.    Wallace's distress was so great that he was unable to continue working

and was forced to seek medical attention for the effects of the distress.

      13.    Wallace went to the emergency room where it was discovered that his

blood pressure had reached a dangerously high level. Wallace had never

experienced a similar episode prior to this occasion.

      14.    Wallace was admitted in the hospital for further evaluation. He was

subsequently prescribed antianxiety and blood pressure medication to treat his

symptoms and discharged the next day.

      15.    Upon discharge, Wallace immediately filed the requisite paperwork, as

required by CTA, including a physician's certification, to request leave pursuant to

The Family and Medical Leave Act(29 U.S.C. §2601,"FMLA").

      16.    Wallace returned to work (since his FMLA request had not yet been

approved), as he wanted to avoid the potential adverse effects a violation of CTA's

attendance policy would have on his employment, despite lacking medical clearance.

      17.    Upon his return to CTA, Wallace met with CTA's human resources

department in order to address Wallace's concerns regarding the impact on his

health the working conditions relating to Chobanian's interactions has had with

Wallace, and to foster an approach to prevent such detrimental effects from

occurring again in the future.

      18.    CTA failed to address Wallace's concerns.
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      19.    Thereafter, Wallace contacted CTA's corporate human resources

department, and was informed that they would investigate the situation.

      20.    No action was taken to accommodate Wallace.

      21.    Despite his dissatisfaction with the situation, Wallace continued to

report for work pending CTA's approval of his FMLA leave application, so as to not

incur points pursuant to CTA's attendance policy.

      22.    Wallace's blood pressure remained at dangerously high levels

throughout this time any continued to suffer from extreme anxiety, conditions for

which Wallace was medicated to help alleviate.

      23.    Wallace's application for FMLA leave was approved on February 18,

2021, but CTA never notified Wallace that his leave request had been approved.

      24.    Although unknowingly approved for FMLA leave, Wallace reported for

his overnight shift, on February 24, 2021.

      25.    On February 25, 2021 at approximately 1:30 a.m., Wallace was at his

desk on his cell phone during his lunch break.

      26.    At said time, Rock, a safety officer at CTA, approached Wallace from

behind and kicked the back of Wallace's chair and told him to "try and stay awake."

      27.    Wallace denies that he was sleeping, but Rock reported the incident to

CTA management nonetheless.

      28.   Despite Wallace's denial that he was asleep and on his lunch break,

Rock reported Wallace for sleeping on the job.
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      29.     The next day, CTA informed Wallace that he was suspended pending

an investigation into the allegation that he was sleeping on the job.

      30.     Wallace was terminated on March 2, 2021 for the stated reason of

sleeping on the job.

                                       COUNTI
            (Retaliatory Discharge v. Continental Tire The Americas LLC)

       NOW COMES the plaintiff, Tyler Wallace, by and through his attorneys,

Wham &Wham, and for Count I against defendant Continental Tire the Americas

LLC, states as follows:

      31.     Plaintiff repeats and realleges paragraphs 1-30, above, as paragraphs

1-30 of Count I, herein.

      32.     During the course of his employment at CTA, Wallace performed his

job properly and fulfilled all legitimate expectations of CTA as his employer.

      33.    Prior to the occurrence complained of, Wallace had never received a

disciplinary warning or "write-up" during his nine years of employment at CTA.

      34.    Throughout his tenure at CTA, Wallace was an exemplary employee,

and until the time of his discharge, and for some time thereafter, was a candidate

being considered for multiple managerial positions within the company.

      35.    Wallace's alleged sleeping was used by CTA as a pretext to terminate

his employment.

      36.    The actual reason for Wallace's discharge was retaliation for exercising

his rights under The Family and Medical Leave Act and, and the reporting of CTA's

failures to accommodate Wallace on the local level to CTA's corporate headquarters.
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      37.    It is unlawful under 29 U.S.C. §2615 for an employer to discharge or in

any other manner discriminate against an employee for exercising their rights

under the Family and Medical Leave Act.

      38.    It is a violation of clearly mandated Illinois public policy to discharge

an employee for exercising their rights under the Family Medical Leave Act.

      39.    As a proximate result of the aforesaid acts of CTA, Wallace has been

caused to lose wages and benefits that he would otherwise have earned and will

continue into the future to lose wages and benefits. In addition thereto, Wallace has

endured pain, suffering, severe emotional distress, mental anguish, and humiliation

as a proximate result of CTA' s aforesaid acts.

      40.    The aforesaid acts of CTA were malicious and oppressive and in order

to deter CTA from future conduct of such nature, in addition to compensatory

damages, punitive damages should be awarded.

      WHEREFORE,the plaintiff, Tyler Wallace, prays for judgment in his favor

and against the defendant, Continental Tire The Americas, LLC,in an amount in

excess of $50,000.00 which will reasonably and adequately compensate him for his

damages, plus costs of suit, attorney's fees, punitive damages, and for such other

and further relief this Court deems just and proper.

      PLAINTIFF DEMANDS TRIAL BY JURY OF 12 PERSONS
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                                 COUNT II
      (Intentional Infliction OfEmotional Distress v. Patil Chobanian)

      NOW COMES the plaintiff, Tyler Wallace, by and through his attorneys,

Wham &Wham, and for Count II against defendant Paul Chobanian, states as

follows:

      41.    Plaintiff repeats and realleges paragraphs 1- 40, above, as paragraphs

1- 40 of Count II, herein.

      42.    Chobanian's use of the suicide of Wallace's brother as the basis for his

verbal attack was extreme and outrageous.

      43.    Chobanian knew that Wallace was peculiarly susceptible to emotional

distress with regard to the suicide of his brother.

      44.    Chobanian intended that his comments would inflict severe emotional

distress on Wallace, and/or knew that there was a high probability the comments

would cause severe emotional distress.

      45.    As a direct and proximate result of Chobanian's extreme and

outrageous conduct, Wallace has suffered and continues to suffer from severe

emotional distress.

      46.    In addition to severe emotional distress, Chobanian's extreme and

outrageous conduct resulted in physical manifestations of such emotional distress,

including, but not limited to, dangerously high blood pressure, increased heart rate,

inability to sleep and other physical complaints not previously experienced by

Wallace, for which Wallace has sought medical care and incurred medical expenses.
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      WHEREFORE,the plaintiff, Tyler Wallace, prays for judgment in his favor

and against the defendant, Paul Chobanian, in an amount in excess of $50,000.00

which will reasonably and adequately compensate him for his damages, plus costs

of suit, attorney's fees, and for such other and further relief this Court deems just

and proper.

            PLAINTIFF DEMANDS TRIAL BY JURY OF 12 PERSONS



                                      COUNT III
                              (Defamation v. Jeffrey Rock)

      NOW COMES the plaintiff, Tyler Wallace, by and through his attorneys,

Wham &Wham, and for Count III against defendant Jeffrey Rock, states as follows:

      47.     Plaintiff repeats and realleges paragraphs 1- 46, above, as paragraphs

1- 46 of Count III, herein.

      48.     During their encounter on the morning of February 25, 2021, Rock

falsely claimed that Wallace had been sleeping in his office.

      49.     Rock repeated this false claim to CTA management.

      50.     As a direct and proximate result of Rock's defamatory claims, Wallace's

employment at CTA was terminated causing him to lose wages and benefits that he

would otherwise have earned and that he will continue into the future to lose wages

and benefits. In addition thereto, Wallace has endured pain, suffering, severe

emotional distress, mental anguish, and humiliation as a proximate result.

      WHEREFORE,the plaintiff, Tyler Wallace, prays for judgment in his favor

and against the defendant, Jeffrey Rock, in an amount in excess of $50,000.00
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which will reasonably and adequately compensate him for his damages, plus costs

of suit, attorney's fees, and for such other and further relief this Court deems just

and proper.

            PLAINTIFF DEMANDS TRIAL BY JURY OF 12 PERSONS



                                 COUNT IV
      (Intentional Interference with Prospective Economic Advantage
                              u. Jeffrey Rock)

      NOW COMES the plaintiff, Tyler Wallace, by and through his attorneys,

Wham &Wham,and for Count IV against defendant Jeffrey Rock, states as follows:

      51.     Plaintiff repeats and realleges paragraphs 1- 50, above, as paragraphs

1- 50 of Count IV, herein.

      52.     At the time of his discharge, Wallace had a reasonable expectation of

continued employment with CTA, and Rock knew or should have known of this

expectancy.

      53.     On February 25, 2021, Rock falsely claimed to have caught Wallace

sleeping during a shift.

      54.     Shortly thereafter, Rock repeated his false claim that Wallace was

sleeping to CTA management.

      55.     Rock knew that reporting an employee for sleeping during a shift was

likely to and/or could result in an employee's employment with CTA being

terminated.
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      56.     CTA subsequently terminated Wallace's employment, allegedly as a

result of the false claims made by Rock.

      57.     As a direct and proximate result of Rock's false claims, Wallace's

employment at CTA was terminated causing him to lose wages and benefits that he

would otherwise have earned and that he will continue into the future to lose wages

and benefits. In addition, thereto, Wallace has endured pain, suffering, emotional

distress, mental anguish, and humiliation as a proximate result.

      WHEREFORE,the plaintiff, 'I~ler Wallace, prays for judgment in his favor

and against the defendant, Jeffrey Rock, in an amount in excess of $50,000.00

which will reasonably and adequately compensate him for his damages, plus costs

of suit, attorney's fees, and for such other and further relief this Court deems just

and proper.

          PLAINTIFF DEMANDS TRIAL BY JURY OF 12 PERSONS



                                        WHAM &WHAM LAWYERS
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                                        Tyler Wallace




                                               dames .Price           IL #6336587
                                               Ryan .Rich             IL#6306824
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                                             AFFIDAVIT PURSUANT TO RULE 222(b)

           The undersigned attorney for the plaintiff, Tyler Wallace, being duly sworn,

on oath, deposes and states the total of money damages sought in this matter

exceeds $50,000.00.




          SUBSCRIBED and SWORN to before me this~day of

                                                     20 0~/


                                .....~.u.                               NOTA   PUBLIC
                   OFFICIAL SEAL
                   MELISSA HULL
         NOTARY PUBLIGSTATE OF ILLINOIS
        MY COMMISSION EXPIRES FEB.8, 2022
    s...............................................................R
